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                                               And The Winner Is…
                                                                November 10, 2009 By eJP




                                                             e Jewish Community Heroes Award contest has
                                                        concluded – and Ari Teman, founder of Corps, is
                                                        the recipient of the Community Hero Award for
               2009 and the accompanying $25,000 prize. Congratulations to Ari.

               Ari was one of ve nalists and over 400 nominees who were nominated
               during this initiative that was designed to recognize, and honor,
               individuals who are bettering their communities through service and


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               outreach. Each and everyone, along with countless others, deserve our
               thanks every day.

               Ari was also a participant in the 2009 ROI Summit, a multi-day annual
               gathering of 120 young Jewish innovators who come together [in Israel] to
               network, build skills and most important, be inspired by both their peers
               and the community members who come to lend support to those building
               our future.

               Here’s what               e Jewish Week had to say about Ari last year when they named
               him to 36 Under 36:

               Ari Teman was tired of meeting the same group of people at parties. So he
               founded Corps, the largest non-denominational Jewish volunteer
               organization on the continent, open exclusively to 18- to 28-year-olds.                        e
               only restriction?                     at they be single. (But they’re not singles events, he
               stresses. “We discourage that air of desperation.”)

                 Corps volunteers meet, typically on Sundays, to feed the hungry at soup
               kitchens and food banks and entertain senior citizens at old-age homes
               and hospitals. Each volunteer receives a custom-designed Corps shirt,
               free of charge. “People come for sel sh reasons,” he says.

               “You meet other people, make business connections and get something
               out of it.”

               It’s Charity 2.0 at its best; call it “social volunteering.” A er signing up for
               an event on Corps.org, Teman and his volunteer team will “friend” you

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               on Facebook or ask that you send a picture. “We want to make sure that
               you’re not a 40-year-old man,” he says. Corps uses the same technology
               that powers Gmail, so the second time you come back to the site to
               volunteer again, the form will be lled out for you.

               Only a year old, Corps has thousands of volunteers from more than 115
               colleges and 300 companies, and is active in almost every state (and more
               than 20 countries). Teman markets Corps by posting pictures from past
               events on Facebook. “More than 30 percent of volunteers show up because
               they saw a friend’s picture.”

               Teman, who owns a consulting rm called 12gurus, regularly puts into
               practice the Website design, technology savvy and problem-solving skills
               he gains on the job. Last May, he and his rm raised nearly $500,000 for
               Meir Panim with an online art auction and wine sale at www.sensi6.org.

               He’s a comedian, too. Seriously. Teman is a regular at Broadway Comedy
               Club and Stand-Up New York. He’s organized several comedy nights to
               raise money for charity. Mailbox Full? Teman invented the patent-
               pending PhoneLobby, which connects supporter’s real phones via the
               Internet to their governmental representative.                     e “Calls for Jerusalem”
               campaign used his technology to direct more than 10,000 calls to the
               White House in support of Israel. It was so successful, the White House’s
               call center kept dropping calls.

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